Case 1:15-cr-00095-KBJ Document 29 Filed 11/17/15 Page 1of7

AO 245B (Rev 10/15) Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

Vv.

DANIEL JASON SAVAGE Case Number: 15-CR-095-01 (KBJ)

USM Number: 33571-016
Danielle C. Jahn

“Detendant’s Attorney
THE DEFENDANT: F I L E D
WZ pleaded guilty to count(s) 1 of the Information filed on 7/30/15.
(1 pleaded nolo contendere to count(s)
which was accepted by the court. Clerk, U.S. District & Bankruptcy
Courts for the District of Columbla

 

Nee eee ee eee es ee

 

 

LI was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18:2423(b) Travel With Intent to Engage in Illicit Sexual Conduct. 4/18/2015 1

 

The defendant is sentenced as provided in pages 2 through 7 __ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
() The defendant has been found not guilty on count(s) -
CJ Count(s) O is (Care dismissed on the motion of the United States.

 

__ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/16/2015

 

 
   

Signatuie of Judge

Ketanji B. Jackson, U.S. District Court Judge
Name and Title of Judge

uli

 

Date
Case 1:15-cr-00095-KBJ Document 29

AO 245B (Rev 10/15) Judgment in Criminal Case
Sheet 2 — Imprisonment

DEFENDANT: DANIEL JASON SAVAGE
CASE NUMBER: 15-CR-095-01 (KBJ)

Filed 11/17/15 Page 2 of 7

Judgment— Page 2 of

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

total] term of:

Thirty-Seven (37) months, with credit for time served.

V¥} The court makes the following recommendations to the Bureau of Prisons:

Defendant to be incarcerated at the Schuylkill, PA facility.

The defendant is remanded to the custody of the United States Marshal.

(The defendant shall surrender to the United States Marshal for this district:

{J at DO am. O p.m. on
(as notified by the United States Marshal.

 

{] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

{] before 2 p.m. on
C1 as notified by the United States Marshal.

(1 as notified by the Probation or Pretrial Services Office.

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
Case 1:15-cr-00095-KBJ Document 29 Filed 11/17/15 Page 3 of 7

AO 245B (Rev 10/15) Judgment tn a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 3 of f
DEFENDANT: DANIEL JASON SAVAGE
CASE NUMBER: 15-CR-095-01 (KBJ)

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
One Hundred Twenty (120) months.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable )

Wi The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, sf applicable )
V1 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if apphcable.)
0 The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)

as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, sf applicable )

(J The defendant shall participate in an approved program for domestic violence. (Check. fapplicable )

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shal! answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shal! notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
Case 1:15-cr-00095-KBJ Document 29 Filed 11/17/15 Page 4 of 7

AO 245B (Rev 10/15) Judgment in a Criminal Case
Sheet 3C — Supervised Release

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Judgment— Page 4. of

DEFENDANT: DANIEL JASON SAVAGE
CASE NUMBER: 15-CR-095-01 (KBJ)

SPECIAL CONDITIONS OF SUPERVISION

Sex Offender Registration - You shall comply with the Sex Offender Registration requirements for convicted sex offenders
in any state or jurisdiction where you reside, are employed, carry on a vocation, or are a student.

Contact Restriction - You shall have no unsupervised contact with minors under the age of 18, including your own children,
of more than momentary duration, without the approval of your treatment provider and the written consent of the United
States Probation Office.

Search - Pursuant to the Adam Walsh Child Protection and Safety Act of 2006, you shall submit to a search of your
person, property, house, residence, vehicle, papers, computer, other electronic communication or data storage devices or
media, and effects at any time, with or without a warrant, by any law enforcement or probation officer with reasonable
suspicion concerning unlawful conduct or a violation of a condition of supervision.

Computer/Internet Search/Monitoring - You shall identify all computer systems, internet capable devices, and similar
memory and electronic devices to which you have access, and allow installation of a computer and internet monitoring
program.

Sex Offender Assessment and Treatment - You shall participate in a program of sex offender assessment and treatment,
as directed by the United States Probation Office. At the direction of the United States Probation Office, you shall pay for
all or a portion of any treatment program. You shall waive your right of confidentiality in treatment and sign any necessary
releases for any records imposed as a consequence of this judgment to allow the United States Probation Office

to review your course of treatment and progress with the treatment provider(s).

Mental Health Treatment - You shall participate in a mental health treatment program, which may include outpatient
counseling or residential placement, as approved and directed by the Probation Office.
Case 1:15-cr-00095-KBJ Document 29 Filed 11/17/15 Page 5 of 7

AO 245B (Rev 10/15) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment— Page 9D sooff _
DEFENDANT: DANIEL JASON SAVAGE
CASE NUMBER: 15-CR-095-01 (KBJ)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ $
() The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
[] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately pro ortioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664¢i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
° » to : Ly ' 4 . s ve “3 oF : ag a
"i
TOTALS $ 0.00 $ 0.00

C1 _ Restitution amount ordered pursuant to plea agreement $

C1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(1 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
CL sthe interest requirement is waived forthe (J fine (] restitution.

(J the interest requirement forthe [] fine [] restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
Case 1:15-cr-00095-KBJ Document 29 Filed 11/17/15 Page 6 of 7

AO 245B (Rev 10/15) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

6 f

Judgment -—~ Page _ oO
DEFENDANT: DANIEL JASON SAVAGE
CASE NUMBER: 15-CR-095-01 (KBJ)

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A _ Lumpsum payment of$ 100.00 due immediately, balance due

CJ not later than , Or
MW inaccordance oc. OF D, OO E,or i F below; or

 

B (J Payment to begin immediately (may be combined with (]C, (C1 D,or €)F below); or
C (Payment in equal (e g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D () Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
___ (e.g., months or years), to commence (eg, 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F (&_ Special instructions regarding the payment of criminal monetary penalties:

The special assessment is immediately payable to the Clerk of the Court for the US District Court, District of
Columbia. Within 30 days of any change of address, you shall notify the Clerk of the Court of the change until such
time as the financial obligation is paid in full.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

0 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[The defendant shall pay the cost of prosecution.
(1 _ The defendant shall pay the following court cost(s):

VY] The defendant shall forfeit the defendant’s interest in the following property to the United States:
See (Page 6) Additional Forfeited Property

Payments shall be applied in the following order: ( ) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
Case 1:15-cr-00095-KBJ Document 29 Filed 11/17/15 Page 7 of 7

AO 245B (Rev 10/15) Judgment in a Criminal Case
Sheet 6B — Schedule of Payments

Judgment—Page 7 of 7

DEFENDANT: DANIEL JASON SAVAGE
CASE NUMBER: 15-CR-095-01 (KBJ)

ADDITIONAL FORFEITED PROPERTY

Pursuant to the terms of your plea agreement, you, Daniel Savage, forfeit an Apple iPhone (Model# A1533) and six
USB thumb drives including: one Exar 64GB thumb drive; one HP 4GB thumb drive; one Cruzer 8GB thumb drive; two
Swagelok eDTR thumb drives; and, one Dane-Elec 4GB thumb drive (Ser. No. 498326), which items were confiscated

from you at the time of your arrest.
